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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                      l~-cv-9662 (JSR)
In re: PETROBRAS SECURITIES
                                                         j
LITIGATION                                                   ORDER

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JED S. RAKOFF, U.S.D.J.
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     In an order dated July 29, 2019, ECF No.         94;8, the Court

granted in substantial part Cornell University's'. motion to

unseal the summary judgment papers filed under seal pursuant to

protective orders dated September 1, 2015, ECF No. 206, and July

1, 2016, ECF No. 685. The Court found that the strong

presumption in favor of public disclosure of jud~cial documents,

see, e.g., Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 121

(2d Cir. 2006), as well as the fact that the conditions that

made these documents commercially sensitive several years ago

are likely no longer present, both counseled in favor of

granting Cornell's motion to unseal. ECF No. 948, at 21-22.

     Nevertheless, the Court acknowledged that some of these

documents may still contain commercially sensitiye information,

and that limited redactions may the~efore remain'appropriate.

Id. at 22. The Court accordingly directed the parties to produce

to Cornell "(a) copies of all documents that in the view of the

producing parties can now be unsealed,        (b) redacted copies of

documents that can be partially unsealed, and (c) a list of all


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documents that the producing party believes mus~ still be kept

entirely under seal." Id. at 22-23. The Court also directed

Cornell to notify the Court of any objections t9 the remaining

redactions and sealings by a date certain. 1

     In response to the Court's order, Petrobras produced many

documents to Cornell, the majority in fully unrebacted form.

Petrobras also produced nine partially-redacted documents and a

list of four documents that it believes should be kept entirely

under seal. In a letter dated September 12, 2019, ECF No.          954,

Cornell informed the Court that it does not object to any of

these continued redactions or sealings. Cornell also does not

object to any of the documents other parties have requested

remain under seal, specifically:        (a) the deposition transcripts
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of the employees of Class Representatives;        (b) ahy document

produced by Class Representatives; or (c) documepts designated
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as confidential by the underwriter defendants. Id.

     Given the agreement among the parties as to'which documents

to unseal, all parties are hereby directed to file the

unredacted and partially redacted copies of such 1I documents on

the public docket in this case.



1 The Court originally directed the parties to produce documents
to Cornell by August 15, 2019 and Cornell to submit any
objections by August 29, 2019. ECF No. 948 at 22-23. The Court
subsequently extended these deadlines to August 22, 2019 and
September 12, 2019, respectively, via joint email and telephone
communications with the parties.

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     SO ORDERED.

Dated:      New York, NY                          i     1~
            September   {6_,   2019             ~Ii,,KOFF, U.S.D.J.




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